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 1
                            UNITED STATES DISTRICT COURT
 2
                                     DISTRICT OF NEVADA
 3

 4
     UNITED STATES OF AMERICA,
 5
            Plaintiff,                                Case No. 2:14-cr-00399-KJD-GWF
 6
     v.                                               ORDER
 7
     MARK BAUSCH,
 8
            Defendant.
 9

10
            Before the Court for consideration is the Report and Recommendation (#260) of Magistrate
11
     Judge Peggy A. Leen entered May 13, 2016 recommending that Defendant’s Motion to Dismiss
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     (#150) be denied. Defendant filed an objection (#265), to which the Government responded (#270).
13
            The Court has conducted a de novo review of the record in this case in accordance with 28
14
     U.S.C. § 636(b)(1) and LR IB 3-2. The Court determines that the Report and Recommendation
15
     (#260) of the United States Magistrate Judge, entered May 13, 2016, should be affirmed.
16
            Accordingly, IT IS THEREFORE ORDERED that the Magistrate Judge’s Report and
17
     Recommendation (#260) entered May 13, 2016, are ADOPTED and AFFIRMED;
18
            IT IS FURTHER ORDERED that Defendant’s Motion to Dismiss (#150) is DENIED.
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20
            DATED this ______
                        8th   day of June 2016.
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23
                                                 ____________________________________
24                                               Kent J. Dawson
                                                 United States District Judge
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